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                      UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


In re                                        :         Chapter 7

                                             :
Victor Manuel Fuentes, Jr.
                                             :

                     Debtor                  :         Bankruptcy No. 22-11530-mdc


                                          ORDER

              AND NOW, it is ORDERED that since the debtor(s) have failed to timely

file the documents required by the order dated June 13, 2022 and this case be and the

same is hereby DISMISSED.




    July 8, 2022



                                                       Magdeline D. Coleman
                                                       Chief U.S. Bankruptcy Judge

Missing Documents:
                              Matrix
                              Schedule AB-J
                              Statement of Financal Affairs
                              Summary of Assets and Liabilities
                              Chapter 7 Statement of Your Current Monthly Income
                              Means Test Calculation
